8:03-cr-00163-LSC-SMB       Doc # 238     Filed: 08/18/16     Page 1 of 2 - Page ID # 839




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )               CASE NO. 8:03CR163
                                            )
             Plaintiff,                     )
                                            )                 MEMORANDUM
             vs.                            )                  AND ORDER
                                            )
JORGE ARONJA-INDA,                          )
                                            )
             Defendant.                     )

      This matter is before the Court on the Defendant’s Motion Under 18 U.S.C. § 3582

(c)(2) for Modification of Sentence by a Person in Federal Custody (Filing No. 233). The

motion references the Supreme Court decision, Johnson v. United States, 135 S. Ct. 2551

(2015), and the Defendant appears to seek a reduction in his sentence based on that

decision. Also before the Court is a Motion to Withdraw (Filing No. 236) filed by the

Federal Public Defender. In the motion, the Federal Public Defender states he has

reviewed the Defendant’s case and has determined that there was no prior conviction used

to enhance the Defendant’s sentence; and therefore Johnson is not applicable in his case.

      In Aronja-Inda’s pending Motion, he asserts that any person who was convicted of

unlawful possession of a firearm, or received a sentencing enhancement under the

residual clause of the Armed Career Criminal Act (“ACCA”), 18 U.S.C. § 924(e)(2)(B)(ii),

can now seek relief pursuant to the Johnson decision.

      The Court acknowledges that defendants who received sentencing enhancements

under the residual clause of the ACCA may be entitled to relief under Johnson. A review

of the Defendant’s Presentence Investigation Report (“PSR”) (“Filing No. 83) reveals that

Aronja-Inda did not receive any sentencing enhancement under the ACCA, but simply
8:03-cr-00163-LSC-SMB       Doc # 238    Filed: 08/18/16   Page 2 of 2 - Page ID # 840




receive a 2-level enhancement for possession of a firearm. The Johnson decision is

inapplicable to Aronja-Inda’s case.

      THEREFORE, IT IS ORDERED:

      1.     Defendant’s Motion Under 18 U.S.C. § 3582(c)(2) for Modification of

             Sentence by a Person in Federal Custody (Filing No. 233) is denied;

      2.     The Federal Public Defender’s Motion to Withdraw (Filing No. 236) is

             granted; and

      3.     The Clerk is directed to mail a copy of this Memorandum and Order to Jorge

             Aronja-Inda at his last known address.



      DATED this 18th day of August, 2016.

                                        BY THE COURT:


                                        s/Laurie Smith Camp
                                        Chief United States District Judge




                                          2
